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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Chicago Board Options Exchange Volatility Index
Manipulation Antitrust Litigation, et al.
                                                           Plaintiff,
v.                                                                      Case No.:
                                                                        1:18−cv−04171
                                                                        Honorable Manish S.
                                                                        Shah
John Does, et al.
                                                           Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, August 16, 2022:


        MINUTE entry before the Honorable Manish S. Shah: Lead counsel in the class
action shall file a status report by 8/25/22 with a proposal for next steps. Plaintiffs LJM
Partners and Two Roads Shared Trusts' motions to compel are granted. Cboe shall identify
Firms 5, 8, 9, 12, 13, 14, 16, and 17 to plaintiffs by 8/23/22, and plaintiffs shall file second
amended complaints on the dockets of 19−cv−368 and 20−cv−831 by 8/30/22. Enter
order. Notices mailed. (psm, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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